
940 N.E.2d 1155 (2011)
PEOPLE State of Illinois, petitioner,
v.
Matthew D. SPICKERMAN, respondent.
No. 110782.
Supreme Court of Illinois.
January 26, 2011.
Petition for leave to appeal or appeal as a matter of right denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Second District, is directed to vacate its judgment in People v. Spickerman, case No. 2-08-0881 (06/24/10). The appellate court is directed to reconsider its judgment in light of People v. Thompson, 238 Ill.2d 598, 345 Ill.Dec. 560, 939 N.E.2d 403 (2010), to determine if a different result is warranted.
